
52 So.3d 903 (2011)
Seymore SIMMONS, Individually and on Elehalf of his Deceased Wife, Robin Simmons, Wayne Thomas, Jr., Individually and on Behalf of his Deceased Mother, Robin Simmons, Justin Thomas Individually and on Behalf of his Deceased Mother, Robin Simmons and Wayne Thomas, Sr., Natural Tutor, on Behalf of his Minor Child Jirus Thomas, Individually and on Behalf of his Deceased Mother, Robin Simmons
v.
BAUMER FOODS, INC., Task Force Staffing Services, Inc., Zurich Insurance Company, and National Union Fire-Pittsburgh Insurance Company.
No. 2010-C-2517.
Supreme Court of Louisiana.
January 14, 2011.
*904 Denied.
VICTORY and GUIDRY, JJ., would grant.
